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         I.      PLAINTIFF DISTRICTS WITH ALL SCHOOLS TESTED AND NO SCHOOLS ABOVE
                                 VERMONT SCHOOL ACTION LEVELS

Number: School District:                     Schools:1                                        Test Results Published By DEC:
    1         Alburgh School District        Alburgh Community Education Center               https://bit.ly/45wAmst

    2         Blue Mountain Union            Blue Mountain Us #21                             https://bit.ly/44hXPvJ
              School District

    3         Fairfax School District        Bellows Free Academy Middle/High                 https://bit.ly/3E9PkYY
                                             School (Fairfax)
    4         Fletcher School District       Fletcher Elementary School                       https://bit.ly/3KPy2o5

    5         Ludlow Mount Holly             Ludlow Elementary School                         Ludlow Elementary School: https://bit.ly/3QQiJ22
              Unified Union School           Mt. Holly School                                 Mt. Holly School: https://bit.ly/3OBApvG
              District
    6         Newport City School            Newport City Elementary Schools                  https://bit.ly/3YIMyUc
              District
    7         Newport Town School            Newport Town School                              https://bit.ly/44hxFJQ
              District
    8         Vernon School District         Vernon Elementary School                         https://bit.ly/44mIA4K

    9         Windham Northeast              Westminster Schools                              https://bit.ly/44f7Tpn
              Union Elementary
              School District




1
         See Testing Schedule Published by the Vermont Department of Environmental Conservation, available at https://bit.ly/3YKgUpp (last visited Aug. 21,
2023).
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Number: School District:        Schools:1                         Test Results Published By DEC:
   10     Winooski School       J F Kennedy Elementary School     All Schools: https://bit.ly/3P4xihd
          District              Winooski High School
                                Winooski Middle School
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    II. PLAINTIFF DISTRICTS WITH SOME SCHOOLS TESTED BELOW VERMONT SCHOOL
    ACTION LEVELS AND SOME UNTESTED SCHOOLS/SCHOOLS WITHOUT PUBLISHED TEST
                                    RESULTS

Number: School District:               Schools:2                                        Test Results Published By DEC:3
    1         Addison Central          Bridport Central School                          Bridport Central School: https://bit.ly/45CqAoc
              School District          Middlebury Union High School                     Middlebury Union High School: https://bit.ly/45wMcCe
                                       Bingham Memorial School
                                       Mary Hogan Elementary School
                                       Patricia A. Hannaford Career Center
                                       Shoreham Elementary School
                                       Weybridge Elementary School
    2         Addison                  Vergennes Union Elementary School                Vergennes Union Elementary School #44:
              Northwest School         #44                                              https://bit.ly/3E19zs5
              District                 Addison Central School
                                       Ferrisburgh Central School
                                       Vergennes Union High School #5
    3         Enosburgh-               Richford Elementary School                       Richford Elementary School: https://bit.ly/3OMlNd2
              Richford Unified         Cold Hollow Career Center
              Union School             Enosburg Falls Elementary School
              District                 Enosburg Falls Middle-High School
                                       Richford Jr/Sr High School
    4         Lake Region              Barton Graded School                             Barton Graded School: https://bit.ly/3YIK0p0
              Union Elementary-        Brownington Central School                       Brownington Central School: https://bit.ly/47TpFll
              Middle School            Glover Community School
              District                 Irasburg Village School
                                       Orleans Elementary School

2
         See Testing Schedule Published by the Vermont Department of Environmental Conservation, available at https://bit.ly/3YKgUpp (last visited Aug. 21,
2023).
3
         See Test Results Published by the Vermont Department of Environmental Conservation, available at https://bit.ly/3QOiYe3 (last visited August 21,
2023).
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Number: School District:       Schools:2                           Test Results Published By DEC:3
   5      Montpelier           Main Street Middle School           Main Street Middle School: https://bit.ly/45DBk5Q
          Roxbury School       Union Elementary School             Union Elementary School: https://bit.ly/44dnm9y
          District             Montpelier High School
                               Roxbury Village School
   6      Orange Southwest     Brookfield Elementary School        Brookfield Elementary School: https://bit.ly/3skzuIC
          Unified Union        Randolph Union High School #2
          School District
   7      Oxbow Unified        Bradford Elementary School          Bradford Elementary School: https://bit.ly/3OMw09l
          Union School         Newbury Elementary School
          District             Oxbow Union High School #30

   8      South Burlington     Rick Marcotte Central School        Rick Marcotte Central School: https://bit.ly/3YLnGLm
          School District      Chamberlin School
                               Frederick H Tuttle Middle School
                               Orchard School
                               South Burlington High School

   9      Springfield School   Elm Hill School                     Elm Hill School: https://bit.ly/3QH1Xm2
          District             Riverside Middle School
                               Springfield High School
                               Union Street School

   10     West River           Jamaica Village School              Jamaica Village School: https://bit.ly/3QJmwyh
          Modified Union       Leland And Gray Union High School
          Education District   #34
                               Newbrook Elementary School
                               Townshend Village School
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Number: School District:       Schools:2                          Test Results Published By DEC:3
   11     White River          Bethel Elementary School           Bethel Elementary and White River Middle Schools:
          Unified School       South Royalton Elem School         https://bit.ly/3YHjrk0
          District             White River Valley High School     South Royalton Elementary and White River High
                               White River Valley Middle School   Schools: https://bit.ly/3R54arN
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         III.    PLAINTIFF DISTRICTS WITH AT LEAST ONE SCHOOL ABOVE VERMONT SCHOOL
                                          ACTION LEVELS

Number: School District:                     Schools:4                                   Test Results Published By DEC:5
    1           Bellows Falls Union          Bellows Falls Union High School             See footnote 6.
                High School District         #276
    2           Brighton School              Brighton Elementary School                  Brighton Elementary School: https://bit.ly/3QIlsdX
                District

    3           Cabot School District        Cabot School                                Cabot School: https://bit.ly/3P5VOP0

    4           Champlain Valley             Charlotte Central School                    Charlotte Central School: https://bit.ly/3OLhBdj
                School District              Champlain Valley Union High
                                             School #15
                                             Hinesburg Community School
                                             Shelburne Community School
                                             Williston Schools
    5           Danville School              Danville School District                    Danville School: https://bit.ly/3qyiApt
                District
    6           Green Mountain          Green Mountain Union High                        Green Mountain Union High School #35:
                Unified School District School #35                                       https://bit.ly/44iea3x
                                        Cavendish Town Elementary                        Cavendish Town Elem School: https://bit.ly/3qJI2YU
                                        School
                                        Chester Andover Unified School
                                        District #29

4
          See Testing Schedule Published by the Vermont Department of Environmental Conservation, available at https://bit.ly/3YKgUpp (last visited Aug. 21,
2023).
5
          See Test Results Published by the Vermont Department of Environmental Conservation, available at https://bit.ly/3QOiYe3 (last visited August 21,
2023).
6
          Test results for Bellows Falls Union High School #27 have been publicly reported in the media. See PCBs found at BFUHS, portions of school off
limits, Susan Smallheer, Brattleboro Reformer, Aug. 13, 2023, available at https://bit.ly/3E66fvJ (last visited Aug. 21, 2023).
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Number: School District:                    Schools:4                                   Test Results Published By DEC:5
    7         Kingdom East Unified          Concord Graded/Middle School                Concord Graded/Middle School: https://bit.ly/3sks9bW
              Union School District         Lunenburg/Gilman Schools                    Lunenburg/Gilman Schools: https://bit.ly/44dBUWN
                                            Millers Run School Unified                  Millers Run School Us #37: https://bit.ly/45hIP2u
                                            School District #37
                                            Burke Town School
                                            Sutton Village School
    8         Marlboro School               Marlboro Elementary School7                 See footnote 7.
              District
    9         North Country Union           North Country Union High School             https://bit.ly/45j0zKD
              High School District          #22B

    10        Northern Mountain             Berkshire Elementary School                 Berkshire Elementary School: https://bit.ly/3smoquF
              Valley Unified Union          Sheldon Elementary School
              School District
    111       Quarry Valley Unified         Poultney Elementary School                  Poultney Elementary School: https://bit.ly/3E39tA4
              Union School District         Proctor Jr/Sr High School                   Proctor Jr/Sr High School: https://bit.ly/3OK6Rfx
                                            West Rutland School                         West Rutland School: https://bit.ly/44ih3S0
                                            Poultney High School
                                            Proctor Elementary School
    12        Twin Valley Unified           Twin Valley Elementary School               Twin Valley Elementary School: https://bit.ly/44jZO2E
              Union School District         Twin Valley Middle High School              Twin Valley Middle High School: https://bit.ly/3QO0bPR
    13        Twinfield Unified             Twinfield Union School                      Twinfield Union School: https://bit.ly/3qwHHsN
              School District
    14        Windham Southeast             Oak Grove School                            Oak Grove School: https://bit.ly/3sj2e4z
              School District               Academy School                              Academy School: https://bit.ly/3E3csbA
                                            Green Street School                         Green Street School: https://bit.ly/44n1zMy

7
        It was publicly reported that Marlboro Elementary School tested above Vermont’s SALs. However, since this reporting, test results related to Marlboro
Elementary School have been removed from the Vermont Department of Environmental Conservation’s website. See Test Results Published by the Vermont
Department of Environmental Conservation, available at https://bit.ly/3QOiYe3 (last visited August 21, 2023). For purposes of this motion, Pharmacia assumes
Marlboro Elementary School has a school that has tested above Vermont’s SALs.
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Number: School District:      Schools:4                          Test Results Published By DEC:5
                              Brattleboro Union High School #6
                              Dummerston Schools
                              Guilford Central School
                              Putney Central School
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          IV. PLAINTIFF DISTRICTS WITH SCHOOLS SCHEDULED FOR TESTING BY
     THE DEPARTMENT OF ENVIRONMENTAL CONSERVATION BUT NO PUBLISHED RESULTS
Number: School District:                                                   Schools:8
  1     Barre Unified Union School District                                Barre Town Elementary School
                                                                           Spaulding Union High School #41
    2         Barstow Unified Union District                               Barstow Memorial School
    3         Burr and Burton Academy                                      Burr and Burton Academy
    4         Cambridge School District                                    Cambridge Elementary School
    5         Champlain Islands Unified Union School District              North Hero School
    6         Charleston School District                                   Charleston Elementary School
    7         Colchester School District                                   Colchester High School
                                                                           Colchester Middle School
                                                                           Malletts Bay School
                                                                           Porters Point School
                                                                           Union Memorial School
     8        Craftsbury School District                                   Craftsbury Schools
     9        Derby School District                                        Derby Elementary School
    10        Echo Valley Community School District                        Orange Center School
                                                                           Washington Village School




8
         See Testing Schedule Published by the Vermont Department of Environmental Conservation, available at https://bit.ly/3YKgUpp (last visited Aug. 21,
2023).
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Number: School District:                               Schools:8
  11    Essex Westford Educational Community Unified   Albert D Lawton School
        Union School District                          Essex Community Education Center
                                                       Essex Elementary School
                                                       Essex Middle School
                                                       Founders Memorial School
                                                       Hiawatha School
                                                       Summit Street School
                                                       Thomas Fleming School
                                                       Westford Elementary School
   12     First Branch Unified School District         Chelsea Elementary Middle School
                                                       Tunbridge School
   13     Georgia School District                      Georgia Elementary/Middle School
   14     Halifax School District                      Halifax School
   15     Hartford School District                     Hartford High School
                                                       Hartford Memorial Middle School
                                                       White River School
                                                       Hartland Elementary School
   16     Harwood Unified Union School District        Brookside Primary School
                                                       Fayston Elementary School
                                                       Harwood Union Middle/High School #19
                                                       Moretown Elementary School
                                                       Waitsfield Elementary School
                                                       Warren Elementary School
   17     Hartland School District                     Hartland Elementary School
   18     Hazen Union School District                  Hazen Union High School #26
   19     Holland School District                      Holland Elementary School
   20     Lake Region Union High School District       Lake Region Union High School #24
   21     Lamoille North Supervisory Union & School    Hyde Park Elementary School
          District                                     Johnson Elementary School
                                                       Lamoille Union High School #18
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Number: School District:                               Schools:8
  22    Lamoille South Unified Union School District   Lake Elmore School
                                                       Morristown Elementary Schools
                                                       Peoples Academy
                                                       Peoples Academy Middle School
                                                       Stowe Elementary School
                                                       Stowe High School
   23     Maple Run Unified School District            Bellows Free Academy (St Albans)
                                                       Fairfield Center School
                                                       St Albans City School
                                                       St Albans Town Educational Center
   24     Mill River Unified Union School District     Clarendon Elementary School
                                                       Mill River Union High School #40
                                                       Shrewsbury Mountain School
                                                       Tinmouth Elementary School
                                                       Wallingford Village School
   25     Milton Town School District                  Milton Elementary School
                                                       Milton High School
   26     Missisquoi School District                   Highgate Elementary School
                                                       Missisquoi Valley Union High School #7
                                                       Swanton Schools
   27     Mount Abraham Unified School District        Beeman Elementary School
                                                       Bristol Elementary School
                                                       Monkton Central School
                                                       Mt Abraham Union High School #28
                                                       Robinson School
   28     Mount Ascutney School District               Albert Bridge School (W Wind)
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Number: School District:                                 Schools:8
  29    Mount Mansfield Unified Union School District    Brewster Pierce Elementary School
                                                         Browns River Middle School
                                                         Camels Hump Middle School
                                                         Jericho Elementary School
                                                         Mt Mansfield Union High School
                                                         Smilie Memorial School (Bolton)
                                                         Underhill Central Elementary School
                                                         Underhill ID School
   30     North Country Union Junior High School Board   North Country Union Jr High #22A
   31     Orleans Southwest Union Elementary School      Hardwick Elementary School
          District                                       Lakeview Us #43
                                                         Woodbury Elementary School
   32     Otter Valley Unified Union School District     Leicester Central School
                                                         Lothrop School
                                                         Neshobe School
                                                         Otter Creek Academy At Lei Sud And Whiting - Whiting
                                                         Campus
                                                         Otter Valley Union High School #8
   33     Paine Mountain School District                 Northfield Elementary School
                                                         Northfield Middle School
                                                         Williamstown Elementary School
                                                         Williamstown Middle High School
   34     Readsboro School District                      Readsboro Elementary School
   35     River Valleys Unified School District          Dover Elementary School
                                                         Wardsboro Central School
                                                         Wardsboro Elementary School
   36     Rochester-Stockbridge Unified District         Rochester School
                                                         Stockbridge Central School
   37     Rockingham School District                     Bellows Falls Middle School
                                                         Central Elementary School
                                                         Saxtons River Elementary School
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Number: School District:                                   Schools:8
  38    Rutland Town School District                       Rutland Town Elementary School
  39    Slate Valley Unified School District               Castleton Elementary School
                                                           Castleton Village School
                                                           Fair Haven Grade School
                                                           Fair Haven Union High School #16
                                                           Orwell Village School
   40      South Hero School District                      Folsom Educational And Community Center
   41      St. Johnsbury School District                   St Johnsbury School
   42      Stamford School District                        Stamford Elementary School
   43      Stafford School District                        Newton School
   44      Thetford Town School District                   Thetford Elementary School
   45      Troy School District                            Troy Elementary School
   46      Waits River Valley Union School District        Waits River Valley Unified School District #36
   47      Weathersfield School District                   Weathersfield School
   48      Wells Spring Unified Union School District      Middletown Springs Elem School
                                                           Wells Village School
   49      Windham School District                         Windham Elementary School
   50      Windsor Central Unified Union School District   Killington Elementary School
                                                           Reading Elementary School
                                                           Woodstock Elementary School
                                                           Woodstock Middle Sr Union High School #4
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    V.       PLAINTIFF DISTRICTS WITH ALL SCHOOLS NOT SCHEDULED FOR TESTING BY THE
                        DEPARTMENT OF ENVIRONMENTAL CONSERVATION9

               Number:           School District:                                                      Schools:
                 1               Coventry School District                                              Coventry Village School
                 2               Jay-Westfield Joint Elementary School District                        Jay Westfield Joint Elementary School
                 3               Lowell School District                                                Lowell Graded School
                 4               Norwich-Hannover Interstate School District                           Marion Cross School
                 5               Pittsfield School District
                 6               Sharon School District                                                The Sharon Academy
                 7               Westminster School District                                           Westminster Central School
                 8               Wolcott School District




9
         See Testing Schedule Published by Vermont Department of Environmental Conservation, available at https://bit.ly/3YKgUpp (last visited Aug. 21,
2023).
